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 1                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 2                               EASTERN DIVISION
 3
      RAUL NOVOA, JAIME CAMPOS                      Civil Action No. 5:17-cv-02514-JGB-
 4    FUENTES, ABDIAZIZ KARIM, and                  SHKx
      RAMON MANCIA, individually and
 5
      on behalf of all others similarly situated,
 6
                           Plaintiffs,              ORDER GRANTING
 7
      v.                                            STIPULATION TO CONTINUE
 8                                                  PRETRIAL CONFERENCE AND
      THE GEO GROUP, INC.,
                                                    TRIAL DATE
 9                         Defendant.
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11
12           The Court, having considered the Parties’ Stipulation to Continue the Pretrial

13    Conference and Trial Date, and good cause appearing therefore, hereby approves the

14    Stipulation and ORDERS as follows:

15         1. The Pretrial Conference is hereby CONTINUED to September 19, 2022 at 11

16           a.m., and

17         2. The Trial date is hereby CONTINUED to October 4, 2022 at 9 a.m.

18           IT IS SO ORDERED.

19           Dated: March 31, 2022.
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21                                                    Hon. Jesus G. Bernal
22                                                    United States District Judge

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